Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 1 of 30 Page ID #:629



 1   LECLAIRRYAN LLP
     Brian C. Vanderhoof, CBN 248511
 2    Brian.Vanderhoof@leclairryan.com
     725 S. Figueroa Street, Ste. 350
 3   Los Angeles, CA 90017
     Phone: (213) 337-3247 / Fax: (213) 624-3755
 4
     WILEY REIN LLP
 5   Stephen J. Obermeier (pro hac vice pending)
       sobermeier@wileyrein.com
 6   Phone: (202) 719-7465 / Fax: (202) 719-7049
 7   Matthew J. Gardner, CBN 257556
      mgardner@wileyrein.com
 8   Phone: (202) 719-4108 / Fax: (202) 719-7049
 9   Rebecca J. Fiebig (pro hac vice pending)
      rfiebig@wileyrein.com
10   Phone: (202) 719-3206 / Fax: (202) 719-7049
11   1776 K Street NW
     Washington, DC 20006
12
     Attorneys for Defendants
13   Stonington Strategies LLC and Nicolas D. Muzin
14
                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16
                       WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC
18   and ELLIOTT BROIDY
                                                   Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,
                                                      The Honorable John F. Walter
20         v.
21   STATE OF QATAR, STONINGTON                       MEMORANDUM OF POINTS
     STRATEGIES LLC, NICOLAS D. MUZIN,                AND AUTHORITIES IN
22   GLOBAL RISK ADVISORS LLC, KEVIN
     CHALKER, DAVID MARK POWELL,                      SUPPORT OF MOTION TO
23   MOHAMMED BIN HAMAD BIN                           STAY THE CASE OR IN THE
     KHALIFA AL THANI, AHMED AL-                      ALTERNATIVE TO STAY
24   RUMAIHI, and DOES 1-10
                                                      DISCOVERY
25                           Defendants.
26
                                                      Hearing Date: June 25, 2018
                                                      Hearing Time: 1:30 p.m.
27                                                    Courtroom: 7A
28
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 2 of 30 Page ID #:630



 1                                           TABLE OF CONTENTS
 2                                                                                                               Page
 3   INTRODUCTION ............................................................................................... 1
 4   BACKGROUND ................................................................................................. 3
 5   I.     Plaintiffs’ Amended Complaint.................................................................. 3
 6   II.    Procedural Background .............................................................................. 5
 7   STANDARD OF REVIEW ................................................................................ 9
 8   ARGUMENT .................................................................................................... 11
 9   I.     Discovery Should Be Stayed Because There Is a Strong Likelihood That
            The Stonington Defendants Will Be Dismissed. ...................................... 11
10
            A.       This Court Lacks Personal Jurisdiction Over the Stonington
11                   Defendants...................................................................................... 12
12          B.       The Stonington Defendants Are Immune from Suit. ..................... 14
13                   1.       The Stonington Defendants Are Entitled to Derivative
                              Sovereign Immunity. ........................................................... 15
14
                     2.       The Stonington Defendants Are Entitled to Immunity as
15                            Diplomatic Agents of Qatar. ................................................ 17
16          C.       Plaintiffs Fail to State a Claim Against the Stonington
                     Defendants...................................................................................... 19
17
     II.    The Stonington Defendants Will Suffer Irreparable Harm If Discovery Is
18          Allowed to Proceed. ................................................................................. 22
19   III. Plaintiffs Will Suffer No Harm If the Case Is Stayed. ............................. 24
20   IV. A Stay Is Supported by the Public Interest. ............................................. 25
21   CONCLUSION ................................................................................................. 25
22

23

24

25

26
27

28


                                                                 i
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 3 of 30 Page ID #:631



 1                                        TABLE OF AUTHORITIES
 2                                                                                                             Page(s)
 3   Cases
 4   Alicog v. Kingdom of Saudi Arabia,
       860 F. Supp. 379 (S.D. Tex. 1994) ....................................................................15
 5
     Arei II Cases,
 6     157 Cal. Rptr. 3d 368 (Cal. Ct. App. 2013).................................................20, 22
 7   Ashcroft v. Iqbal,
       556 U.S. 662 (2009).....................................................................................20, 21
 8
     Att’y Gen. of U.S. v. Irish People, Inc.,
 9     684 F.2d 928 (D.C. Cir. 1982)...........................................................................18
10   Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
       874 F.3d 1064 (9th Cir. 2017) ...........................................................................13
11
     Brzak v. United Nations,
12     597 F.3d 107 (2d Cir. 2010) ........................................................................17, 18
13   Butters v. Vance Int’l, Inc.,
       225 F.3d 462 (4th Cir. 2000) ................................................................ 15, 16, 25
14
     Campbell-Ewald Co. v. Gomez,
15    136 S. Ct. 663 (2016).........................................................................................15
16   Cargill Int’l S.A. v. M/T Pavel Dybenko,
      991 F.2d 1012 (2d Cir. 1993) ............................................................................25
17
     Chavous v. D.C. Fin. Responsibility and Mgmt. Assistance Auth.,
18    201 F.R.D. 1 (D.D.C. 2001) ..............................................................................10
19   Citizens Cmty. Fed. v. Silver, Freedman & Taff, L.L.P.,
       No. 12-cv-648-BBC, 2014 WL 345261 (W.D. Wis. Jan. 30, 2014) .................23
20
     Cunningham v. Gen. Dynamics Info. Tech., Inc.,
21    888 F.3d 640 (4th Cir. 2018) .......................................................................17, 22
22   Daniels-Hall v. Nat’l Educ. Ass’n,
      629 F.3d 992 (9th Cir. 2010) ...........................................................................3, 4
23
     Destfino v. Kennedy,
24    No. CVF081269LJODLB, 2009 WL 63566 (E.D. Cal. Jan. 8, 2009) ..............14
25   Destfino v. Reiswig,
      630 F.3d 952 (9th Cir. 2011) .............................................................................19
26
     EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp.,
27     711 F. Supp. 2d 1074 (C.D. Cal. 2010) .......................................................13, 14
28
     Ewald v. Royal Norwegian Embassy,
      No. 11-cv-2116, 2013 WL 6094600 (D. Minn. Nov. 20, 2013) .......................19
                                         i
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 4 of 30 Page ID #:632



     FTC v. AMG Servs., Inc.,
 1     No. 2:12-cv-00536, 2012 WL 3730561 (D. Nev. Aug. 28, 2012) ....................11
 2   In re Grand Jury Subpoenas Returnable Dec. 16, 2015,
       871 F.3d 141 (2d Cir. 2017) ..............................................................................17
 3
     Hanni v. Am. Airlines, Inc.,
 4    No. C 08-00732 CW, 2008 WL 5000237 (N.D. Cal. Nov. 21, 2008) ..............21
 5   Hart v. Gaione,
      No. 02-cv-1331, 2003 WL 21308891 (C.D. Cal. June 3, 2003) .......................11
 6
     Johnson v. N.Y. Univ. School of Educ.,
 7     205 F.R.D. 433 (S.D.N.Y. 2002) .......................................................................10
 8   Little v. City of Seattle,
       863 F.2d 681 (9th Cir. 1988) ...............................................................................9
 9
     Mireskandari v. Daily Mail & Gen. Trust PLC,
10    No. 12-07293, 2013 WL 12129944 (C.D. Cal. Jan. 14, 2013) .........................10
11   Mlejnecky v. Olympus Imaging Am., Inc.,
      No. 2:10-cv-02630, 2011 WL 489743 (E.D. Cal. Feb. 7, 2011) .........................9
12
     Morrill v. Scott Fin. Corp.,
13    873 F.3d 1136 (9th Cir. 2017) ...........................................................................12
14   Norfolk S. Ry. Co. v. Power Source Supply Co.,
      No. 3:06-cv-58, 2007 WL 709312 (W.D. Pa. March 5, 2007) .........................23
15
     Palestine Information Office v. Shultz,
16     853 F.2d 932 (D.C. Cir. 1988)...........................................................................18
17   Phaneuf v. Republic of Indonesia,
       106 F.3d 302 (9th Cir. 1997) .......................................................................15, 22
18
     Rent-A-Center, Inc. v. Canyon Television and Appliance Rental, Inc.,
19     944 F.2d 597 (9th Cir. 1991) .............................................................................24
20   Reyes v. Educ. Credit Mgmt. Corp.,
       No. 15-cv-00628, 2017 WL 4640418 (S.D. Cal. Oct. 17, 2017) ......................22
21
     Sai v. DHS,
22     99 F. Supp. 3d 50 (D.D.C. 2015) .......................................................................10
23   Scope Leasing, Inc. v. Clearwater Aviation, Inc.,
       No. 8:15-cv-2062-T-17AEP, 2015 WL 5716595 (M.D. Fla. Sept. 26, 2015) ..23
24
     Stauffacher v. Bennett,
25     969 F.2d 455 (7th Cir. 1992) .............................................................................13
26   Strategic Income Fund, LLC v. Spear, Leeds & Kellogg Corp.,
       305 F.3d 1293 (11th Cir. 2002) .........................................................................19
27

28   Troyer v. TMZ Prods., Inc.,
       No. 08-4233, 2008 WL 11340326 (C.D. Cal. June 27, 2008) ..........................24
                                         ii
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 5 of 30 Page ID #:633



     United States v. County of Nassau,
 1    188 F.R.D. 187 (E.D.N.Y. 1999).......................................................................10
 2   Villegas v. Wells Fargo Bank, N.A.,
       No. C 12-02004 LB, 2012 WL 4097747 (N.D. Cal. Sept. 17, 2012)................21
 3
     Walden v. Fiore,
 4    134 S. Ct. 1115 (2014).................................................................................12, 13
 5   Wyatt v. Kaplan,
      686 F.2d 276 (5th Cir. 1982) .............................................................................11
 6
     Yearsley v. W.A. Ross Construction Co.,
 7     309 U.S. 18 (1940)................................................................................ 11, 15, 17
 8   Statutes and Treaties
 9   Diplomatic Relations Act, 22 U.S.C. § 254d ..................................................17, 23
10   Foreign Agents Registration Act, 22 U.S.C. § 612 .........................................4, 5, 6
11   Vienna Convention on Diplomatic Relations,
       Apr. 18, 1961, 23 U.S.T. 3227 ..................................................................... 17, 25
12
     Other Authorities
13
     12 Cal. Jur. 3d Civil Conspiracy § 3 .....................................................................13
14
     Fed. R. of Civ. P. 45 ..............................................................................................23
15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                                iii
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 6 of 30 Page ID #:634



 1         Defendants Stonington Strategies LLC (“Stonington”) and Nicolas D. Muzin
 2   (“Dr. Muzin”), (collectively “Stonington Defendants”), by counsel and pursuant to
 3   this Court’s May 7, 2018 Order on Stipulation to Schedule for Filing Amended
 4   Complaint and Motion to Dismiss and Order Staying Discovery, Dkt. 46, submit this
 5   Memorandum of Points and Authorities in Support of their Motion to Stay the Case
 6   or in the Alternative to Stay Discovery pending a decision by this Court on the
 7   Stonington Defendants’ forthcoming motion to dismiss,1 and state as follows:
 8                                    INTRODUCTION
 9         This case is a political hit job. Facing his own significant legal and public
10   relations issues, Plaintiff Elliott Broidy, and his company, Plaintiff Broidy Capital
11   Management LLC (together, “Plaintiffs”), filed this case to lash out against a rival,
12   Dr. Muzin, and smear his name in the press by attempting to tie his company’s
13   properly-registered lobbying activities on behalf of the State of Qatar (“Qatar”) to an
14   alleged Qatari government-sponsored hacking conspiracy. Since the time that Dr.
15   Muzin began his representation of Qatar more than nine months ago, Plaintiff Broidy
16   and his associate and employee, Joel Mowbray, recognizing the threat that Dr.
17   Muzin’s work posed to their business activities, launched a malicious, personal, and
18   professional smear campaign to defame Dr. Muzin within his home, faith, and work
19   communities. This lawsuit is the latest iteration of those attacks.
20         Plaintiffs’ claims, however, are baseless. As an initial matter, Plaintiffs have
21   dragged the Stonington Defendants across the entire country to this Court without
22   demonstrating any contacts with California that would establish personal jurisdiction.
23   Moreover, they have alleged that the Stonington Defendants were acting at the
24   direction of Qatar—a foreign nation entitled to foreign sovereign immunity—such
25   that the Stonington Defendants are entitled to derivative sovereign immunity or
26   1
      Counsel for the Stonington Defendants specially appear for the limited purpose of
27   moving to stay discovery until they can contest jurisdiction and otherwise move to
     dismiss Plaintiffs’ Amended Complaint. Counsel’s appearance prior to filing a
28
     motion to dismiss should not be construed as indicating consent to jurisdiction on the
     part of the Stonington Defendants.
                                              1
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 7 of 30 Page ID #:635




 1   diplomatic agent immunity. And even after amending their original Complaint,
 2   Plaintiffs have failed to allege, let alone adduce evidence demonstrating, “that any of
 3   the defendants . . . are responsible for the unauthorized access of Plaintiffs’ email
 4   accounts or that any of the Defendants are in possession of or are responsible for
 5   disseminating the allegedly illegally-obtained emails and documents to various media
 6   outlets.” Apr. 4, 2018 Order at 2-3, ECF No. 37.
 7         Therefore, the Stonington Defendants will be moving to dismiss the entire case
 8   on all of these grounds on July 23, 2018—the due date ordered by this Court for the
 9   Stonington Defendants to respond to Plaintiffs’ Amended Complaint—and there
10   exists a strong likelihood that the motion will be granted. Qatar will also be moving
11   to dismiss on that date based on its own immunity from suit and Plaintiffs’ failure to
12   state a claim. Recognizing that dismissal is imminent—and that Qatar is likely
13   immune—Plaintiffs have, from the outset, attempted to blitz the Stonington
14   Defendants and myriad third parties with early, broad, and expedited discovery. But
15   this Court already denied Plaintiffs’ request for expedited party discovery in their
16   application for a Temporary Restraining Order (“TRO”), and Plaintiffs have declined
17   to properly seek such discovery from the Magistrate Judge, as this Court suggested.
18   Instead, Plaintiffs have used the purported need for time to file an Amended
19   Complaint, and the fact that the defendants cannot serve their own discovery or defend
20   against third party discovery without potentially waiving their jurisdictional defenses,
21   as a means to conduct substantial third-party discovery to further their political
22   agenda and bolster their flimsy allegations before the defendants are even required to
23   respond to the Amended Complaint. Moreover, the partial stay of party discovery
24   expires on the date of this filing, and the Stonington Defendants must respond to
25   Plaintiffs’ overly broad and unduly burdensome document requests on July 2, 2018—
26   i.e., before their response to the Amended Complaint is even due.
27         The Court should now put an end to Plaintiffs’ exploitation of the discovery
28   process and stay the case—or in the alternative, stay discovery—pending a decision

                                                2
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 8 of 30 Page ID #:636




 1   on the Stonington Defendants’ motion to dismiss, which will likely be granted given
 2   this Court’s lack of jurisdiction and Plaintiffs’ complete failure to state a claim.
 3   Whereas Plaintiffs will suffer no harm or prejudice if the case is stayed, failure to stay
 4   discovery will impose substantial and irreparable discovery costs on the Stonington
 5   Defendants in a Court that lacks personal jurisdiction, and will result in a direct assault
 6   on Qatar’s and the Stonington Defendants’ immunity from suit. The Court should
 7   not allow such an affront to a foreign sovereign before considering the arguments for
 8   immunity. The Stonington Defendants’ stay request should thus be granted.
 9                                      BACKGROUND
10   I.   Plaintiffs’ Amended Complaint
11         Stonington is a limited liability company organized under the laws of the state
12   of Delaware, see First Amended Complaint (“Amended Complaint” or “FAC”) ¶ 20,
13   with its primary place of business in the State of Maryland.2
14         Dr. Muzin is the owner of Stonington Strategies. He resides in the state of
15   Maryland, see id. ¶ 21, and conducts the majority of his domestic business in
16   Maryland and Washington, D.C.
17         The Embassy of the State of Qatar retained Stonington, and Dr. Muzin on its
18   behalf, to develop and implement a communications and government affairs strategy.
19   See id. ¶ 20; see also id. ¶ 21; Dkt. 31-9, Ex. 19, p. 100 (stating that Stonington
20   undertook to “provide consulting services to the Embassy of the State of Qatar in
21   Washington . . . includ[ing] the development and implementation of a government
22   relations strategy for the State of Qatar, as requested and directed by the Embassy.”).3
23

24
     2
      Although the Complaint alleges that Stonington’s principal place of business is New
     York City, it is in fact Maryland.
25
     3
26     The Court may consider the Qatari Embassy Agreement even at this early stage of
     the proceedings because (1) the Amended Complaint refers to the Agreement, (2) the
27   Agreement is central to Plaintiffs’ claim, and (3) the authenticity of the Agreement
28   attached to Plaintiffs’ TRO application is uncontested. See Daniels-Hall v. Nat’l
     Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010). The Court may also consider the
                                               3
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 9 of 30 Page ID #:637




 1   Both the agreement between the Embassy and Stonington (“Qatari Embassy
 2   Agreement” or “Agreement”) and an amendment to the Agreement were publicly
 3   registered with the DOJ pursuant to the Foreign Agents Registration Act (“FARA”),
 4   22 U.S.C. §§ 612. See FAC ¶ 20.4
 5         The Amended Complaint expressly states that the case concerns “whether a
 6   nation state can orchestrate and execute a criminal conspiracy directed against a
 7   United States citizen on United States soil.” Id. ¶ 1 (emphasis added). It specifically
 8   alleges that Qatar, using former CIA cyber experts (i.e., the “GRA Defendants”),
 9   hacked and disseminated Plaintiffs’ computer files.         See, e.g., id.    ¶ 6 (“On
10   information and belief, the Qatari Defendants retained and used the GRA Defendants
11   to coordinate and implement the hack, and the GRA Defendants also personally
12   supervised aspects of the information operation against Plaintiffs.”); id. ¶ 93 (“On
13   information and belief, . . . Defendant State of Qatar acting directly or through the
14   Agent Defendants, retained the GRA Defendants to coordinate an offensive cyber and
15   information operation against Plaintiffs. . . .”); id. ¶ 126 (“On information and belief,
16   the State of Qatar, acting through the Agent Defendants, was responsible for
17   disseminating the emails and documents stolen from Plaintiffs’ California-based
18   email accounts and servers.”).
19         With respect to the Stonington Defendants specifically, the Complaint alleges
20   only that they carried out the communications and government affairs strategy
21   contemplated by the Qatari Embassy Agreement. See, e.g., id. ¶ 63 (“[T]he Qatari
22   Defendants retained [the Stonington Defendants] to influence public opinion
23   regarding the State of Qatar.”); id. ¶ 64 (“Defendant Muzin’s efforts as an agent of
24   the State of Qatar quickly focused on an effort to put a pro-Jewish spin on the State
25

26   Agreement because it is made publicly available by the U.S. Department of Justice
     (“DOJ”). See id. at 999.
27
     4
28     On May 22, 2018, before Plaintiffs filed their Amended Complaint, and after
     receiving an extension from DOJ, Stonington filed a supplement to its FARA filing.
                                             4
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 10 of 30 Page ID #:638




  1   of Qatar.”); id. ¶ 69 (“As part of his work for the State of Qatar, Muzin sought out
  2   high-profile individuals who could be helpful in furthering the interests of the State
  3   of Qatar.”); id. ¶ 88 (“In connection with his work for the State of Qatar, Defendant
  4   Muzin had weekly meetings at the Embassy of Qatar in Washington D.C.”); id. ¶ 136
  5   (“In [a] meeting with Mowbray, Defendant Muzin discussed meetings he had with
  6   his client the State of Qatar while serving as a registered agent of Qatar.”). Indeed,
  7   even after amending the original Complaint to include 99 new paragraphs and 31 new
  8   pages, Plaintiffs do not make a single allegation that the Stonington Defendants (a)
  9   accessed Plaintiffs’ computers, (b) received stolen documents or information from
 10   Plaintiffs’ computers, (c) distributed stolen documents or information from Plaintiffs’
 11   computers, or (d) entered into an agreement with Qatar to engage in or assist in any
 12   such actions. Instead, Plaintiffs allege generally that Qatar orchestrated its alleged
 13   unlawful actions “through Agent Defendants.” See id. The Amended Complaint
 14   defines “Agent Defendants” to include not only the Stonington Defendants, but also
 15   the GRA Defendants, Defendant Ahmed al-Rumaihi, and ten unidentified John Doe
 16   defendants. See id. at n.1.
 17         Like the original Complaint, the Amended Complaint is devoid of any
 18   allegation that the Stonington Defendants’ alleged activities were performed in or
 19   directed at the state of California. To the contrary, the Amended Complaint alleges
 20   that the Stonington Defendants’ activities occurred in and were directed at
 21   decisionmakers in Washington, D.C. and New York. See, e.g., id. ¶¶ 11-14, 89 (Dr.
 22   Muzin allegedly identified Broidy as an impediment to the Qatari’s public relations
 23   efforts at meetings in Washington, D.C.); id. ¶ 65 (Stonington Defendants allegedly
 24   sought to arrange meetings between Qataris and Jewish leaders in New York); id. ¶
 25   88 (Dr. Muzin allegedly attended weekly meetings at the Qatari Embassy in
 26   Washington, D.C., and helped plan the Emir’s trip to Washington, D.C.).
 27   II.   Procedural Background
 28         Plaintiffs filed their original Complaint on March 26, 2018, and served the

                                                5
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 11 of 30 Page ID #:639




  1   Complaint on Stonington Strategies through its registered agent on March 29, 2018.
  2   Dkt. 41. Plaintiffs attempted to serve Dr. Muzin at or around that time, but Dr. Muzin
  3   was travelling internationally for the Passover holiday between March 28, 2018 and
  4   April 8, 2018. Plaintiffs did not serve the Complaint on Dr. Muzin until April 11,
  5   2018. Dkt. 40.
  6         Even before they served Dr. Muzin with the Complaint, Plaintiffs filed an ex
  7   parte application for a temporary restraining order and preliminary injunction on April
  8   2, 2018 to enjoin further hacking or dissemination of hacked materials. Dkt. 31. The
  9   application also requested discovery on an absurdly expedited basis, seeking to
 10   depose the yet-to-be served Dr. Muzin by April 13, 2018, and to impose a seven-day
 11   deadline for the Stonington Defendants to respond to broad document requests. Id.;
 12   Dkt. 31-9, Ex. 23, p. 118-27. The Plaintiffs attempted to serve the application on
 13   Qatar on April 2, 2018. Consistent with this Court’s standing order, Qatar filed an
 14   opposition on April 3, 2018. Dkt. 32. The Plaintiffs did not attempt to serve
 15   Stonington Strategies with the application until April 4, 2018, Dkt. 35, and they never
 16   served the application on Dr. Muzin, who was still abroad at the time.
 17         The Court denied the application in its entirety on April 4, 2018, before the
 18   filing deadline for Stonington Strategies’ opposition to the application. Dkt. 37. In
 19   its Order, the Court expressed “serious concerns as to whether it has subject matter
 20   jurisdiction over the case with respect to Qatar,” and noted that the issue of personal
 21   jurisdiction was unresolved because Dr. Muzin had “not yet [been] properly served.”
 22   Id. at 2. The Court then concluded that Plaintiffs “failed to provide admissible
 23   evidence demonstrating that any of the defendants . . . are responsible for the
 24   unauthorized access of Plaintiffs’ email accounts or that any of the Defendants are in
 25   possession of or are responsible for disseminating the allegedly illegally-obtained
 26   emails and documents to various media outlets.” Id. at 2-3. With respect to the Joel
 27   Mowbray declaration submitted by Plaintiffs describing “three vague and cryptic
 28   conversations . . . that Muzin allegedly had with [] Mowbray,” the Court found:

                                                6
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 12 of 30 Page ID #:640




  1        Although the conversations between Muzin and Mowbray establish that
  2        Muzin was aware that various members of the press were investigating
  3        and planning to publish stories regarding Plaintiffs, Plaintiffs have
  4        failed to demonstrate how Muzin obtained that information. Although
  5        Plaintiffs argue that Muzin was privy to that information because he
  6        was involved in the unauthorized access of Plaintiffs’ email accounts
  7        and the dissemination of the allegedly illegally obtained emails and
  8        documents, Plaintiffs have failed to provide any evidence to support
  9        their argument. Based on the record before the Court, it appears just
 10        as likely that Muzin became aware of the press’s interest in Plaintiffs
 11        through his own conversations with various reporters and members
 12        of the press.
 13   Id. at 3 (emphasis added). Finally, regarding discovery, the Court indicated that “[i]f
 14   Plaintiffs wish to pursue their request for expedited discovery, they may do so before
 15   the Magistrate Judge.” Id.
 16         After Plaintiffs and the Stonington Defendants agreed, for purposes of judicial
 17   efficiency, to stipulate that the Stonington Defendants’ response to the Complaint
 18   would be due on June 8, 2018—i.e., the same day as Qatar’s response was due, Dkt.
 19   42—and notwithstanding the Court’s admonition to pursue expedited discovery
 20   through the Magistrate Judge, the Plaintiffs began serving extensive discovery
 21   requests. On April 20, 2018, the Plaintiffs emailed the Stonington Defendants fifteen
 22   overly broad and unduly burdensome document requests. See Ex. 1. Four days later,
 23   the Plaintiffs began serving third-party subpoenas, which fall into two general
 24   categories: (1) third-party contractors, and (2) internet service providers (“ISPs”) and
 25   other telecommunications companies (some of these subpoenas seek information
 26   related to Dr. Muzin), see, e.g., Ex. 2. As of the date of this filing, Plaintiffs have
 27   served a total of 48 subpoenas: 9 to third parties, and 39 to ISPs and other
 28   telecommunications providers. Plaintiffs have subpoenaed third-party Joey Allaham

                                                 7
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 13 of 30 Page ID #:641




  1   for documents and a deposition. See Ex. 3. Notably, the parties have never held a
  2   discovery conference pursuant to Federal Rule of Civil Procedure 26(f).
  3         To halt this extensive and premature discovery, the Stonington Defendants and
  4   Qatar planned to promptly file motions to dismiss and motions to stay discovery
  5   pending a decision on those motions. During an April 26, 2018 telephonic meet and
  6   confer consistent with Local Rule 7-3, the Defendants outlined their various
  7   arguments for both motions, and consistent with the Court’s Standing Order, Dkt. 17,
  8   sect. 5(b), provided to Plaintiffs a written summary of the meet and confer on the
  9   same day, in preparation for filing a joint statement. See Ex. 4. In particular, the
 10   Defendants highlighted the significant jurisdictional defects in the Complaint that
 11   militated against discovery. See id.
 12         Rather than agreeing to the Defendants’ draft meet-and-confer statement, on
 13   April 27, 2018, Plaintiffs stated their intention to file an amended complaint on May
 14   24, 2018 that would address the arguments raised by the Defendants during the meet
 15   and confer. Plaintiffs offered to stay party discovery and partially stay third-party
 16   discovery in the interim. During a subsequent telephonic meet and confer on April
 17   30, 2018, Defendants asked how Plaintiffs intended to address the seemingly fatal
 18   jurisdictional aspects of their case. Plaintiffs responded that they had not fully
 19   developed how they would amend the Complaint.
 20         In the spirit of cooperation, and in light of this Court’s standing instruction to
 21   give Plaintiffs the opportunity to correct defects in the Complaint, Dkt. 17, sect. 5(b),
 22   on May 4, 2018, the Stonington Defendants agreed to (1) stay all party discovery and
 23   all third-party discovery except for Joey Allaham until June 4, 2018; (2) extend the
 24   time for Plaintiffs to file an Amended Complaint until May 24, 2018; and (3) refrain
 25   from filing any motions pending the filing of the Amended Complaint. Dkt. 45. The
 26   Stonington Defendants agreed to limited third-party discovery in exchange for an
 27   expedited briefing schedule for motions to stay all discovery after the filing of the
 28   Amended Complaint. Id. Since the parties filed their joint stipulation extending the

                                                 8
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 14 of 30 Page ID #:642




  1   time for Plaintiffs to file their Amended Complaint, Plaintiffs have issued an
  2   unremitting stream of third-party subpoenas on an almost daily basis.
  3         Late in the day (Eastern Time) on Friday, May 18, 2018, Plaintiffs emailed
  4   Defendants requesting another six-week extension to file their Amended Complaint.
  5   See Ex. 5. Plaintiffs all but conceded that they lacked additional information to
  6   improve their original Complaint, stating “[t]he additional time to file our amended
  7   complaint will enable us to avoid the necessity of further amendments as responses
  8   to third party subpoenas continue to be received,” and that “the third party subpoenas
  9   we have served and continue to serve, particularly on electronic communications
 10   providers, are important for purposes of determining, among other things, the identity
 11   of the defendants we may wish to add or dismiss in the amended complaint.” See id.
 12   In other words, Plaintiffs need to continue fishing for information from third parties
 13   to render their allegations viable, and they need process from this Court—despite the
 14   significant likelihood that it lacks jurisdiction—to do so.
 15         Recognizing that Plaintiffs’ request to delay amending the complaint was
 16   merely a means of continuing to conduct inappropriate discovery, on May 22, 2018,
 17   the Stonington Defendants rejected that request. Plaintiffs filed their Amended
 18   Complaint on May 24, 2018, Dkt. 47, and the Stonington Defendants intend to file a
 19   motion to dismiss the Amended Complaint by July 23, 2018, as contemplated in the
 20   Court’s May 7, 2018 Order. Dkt. 46. The Stonington Defendants now, consistent
 21   with that Order, submit this motion to stay discovery pending a decision on their
 22   forthcoming motion to dismiss.
 23                                STANDARD OF REVIEW
 24         District courts exercise “wide discretion in controlling discovery.” Little v.
 25   City of Seattle, 863 F.2d 681, 685 (9th Cir. 1988). Although the Ninth Circuit has yet
 26   to announce a “clear standard against which to evaluate a request or motion to stay
 27   discovery in the face of a pending, potentially dispositive motion,” Mlejnecky v.
 28   Olympus Imaging Am., Inc., No. 2:10-cv-02630, 2011 WL 489743, at *6 (E.D. Cal.

                                                 9
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 15 of 30 Page ID #:643




  1   Feb. 7, 2011), the Supreme Court has identified four factors that a district court should
  2   consider in deciding whether to grant an application for a stay:
  3        ‘(1) whether the stay applicant has made a strong showing that he is
  4        likely to succeed on the merits; (2) whether the applicant will be
  5        irreparably injured absent a stay; (3) whether issuance of the stay will
  6        substantially injure the other parties interested in the proceeding; and
  7        (4) where the public interest lies.’
  8   Mireskandari v. Daily Mail & Gen. Trust PLC, No. 12-07293, 2013 WL 12129944,
  9   at *2 (C.D. Cal. Jan. 14, 2013) (quoting Nken v. Holder, 556 U.S. 418, 434 (2009)).
 10   The first two factors are the “‘most critical.’” Id. As one district court explained, a
 11   stay of discovery pending resolution of a potentially dispositive motion is appropriate
 12   “where the motion appear[s] to have substantial grounds or, stated another way,
 13   do[es] not appear to be without foundation in law.” Johnson v. N.Y. Univ. School of
 14   Educ., 205 F.R.D. 433, 434 (S.D.N.Y. 2002) (internal quotations and citations
 15   omitted).
 16         Many district courts—including this Court—have stayed discovery pending
 17   dispositive motions. See, e.g., Mireskandari, 2013 WL 12129944, at *2 (granting
 18   motion to stay discovery pending determination of an anti-SLAPP motion); see also,
 19   e.g., Sai v. DHS, 99 F. Supp. 3d 50, 58 (D.D.C. 2015) (staying discovery pending
 20   resolution of motion to dismiss); Johnson, 205 F.R.D. at 434 (granting stay of
 21   discovery pending resolution of motion to dismiss to “obviate the need for
 22   burdensome discovery”); United States v. County of Nassau, 188 F.R.D. 187, 189
 23   (E.D.N.Y. 1999) (granting stay of discovery pending motion to dismiss in the
 24   “interests of fairness, economy, and efficiency”). These courts recognized that “[a]
 25   stay of discovery pending the determination of a dispositive motion is an eminently
 26   logical means to prevent wasting the time and effort of all concerned, and to make the
 27   most efficient use of judicial resources.” Chavous v. D.C. Fin. Responsibility and
 28

                                                  10
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 16 of 30 Page ID #:644




  1   Mgmt. Assistance Auth., 201 F.R.D. 1, 2 (D.D.C. 2001) (internal quotations and
  2   citations omitted).
  3         Importantly, a stay of discovery is particularly appropriate where, as here,
  4   “‘jurisdiction . . . or immunity are preliminary issues’ raised in the motions.” FTC v.
  5   AMG Servs., Inc., No. 2:12-cv-00536, 2012 WL 3730561, at *8 (D. Nev., Aug. 28,
  6   2012) (quoting Twin City Fire Ins. Co. v. Employers Ins. Co. of Wausau, 124 F.R.D.
  7   652, 655 (D. Nev. 1989)); see also Wyatt v. Kaplan, 686 F.2d 276, 285-86 (5th Cir.
  8   1982) (discovery stay proper pending determination of motion to dismiss for
  9   jurisdictional defects). As this Court has explained, “a defendant is entitled to a ruling
 10   on a dispositive motion based on immunity before the commencement of discovery.”
 11   Hart v. Gaione, No. 02-cv-1331, 2003 WL 21308891, at *1 (C.D. Cal. June 3, 2003)
 12   (citing Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (“Until th[e] threshold
 13   immunity question is resolved, discovery should not be allowed.”)).
 14                                        ARGUMENT
 15   I.   Discovery Should Be Stayed Because There Is a Strong Likelihood That
 16        The Stonington Defendants Will Be Dismissed.
 17         Even after amending their Complaint, Plaintiffs have done nothing to bolster
 18   their claims against the Stonington Defendants. The Amended Complaint utterly fails
 19   to establish personal jurisdiction over the Stonington Defendants. The Stonington
 20   Defendants are entitled to derivative sovereign immunity under Yearsley v. W.A. Ross
 21   Construction Co., 309 U.S. 18, 20-21 (1940), as well as to diplomatic agent immunity
 22   under the Vienna Convention on Diplomatic Relations and the Diplomatic Relations
 23   Act, 22 U.S.C. § 254d. And Plaintiffs’ shotgun pleading against the Stonington
 24   Defendants fails to state a claim. In short, there are numerous reasons why the
 25   Stonington Defendants will likely be dismissed from the case, and there is thus no
 26   basis for the Court to expose them to invasive and burdensome discovery in the
 27   meantime.
 28

                                                 11
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 17 of 30 Page ID #:645




  1               This Court Lacks Personal Jurisdiction Over the Stonington
  2               Defendants.
  3         Even accepting as true the allegations in the Amended Complaint, Plaintiffs
  4   have failed to carry their burden of establishing that this Court has personal
  5   jurisdiction over the Stonington Defendants. Morrill v. Scott Fin. Corp., 873 F.3d
  6   1136, 1141 (9th Cir. 2017) (internal quotations and citations omitted). “Although a
  7   nonresident’s physical presence within the [state] is not required [to establish personal
  8   jurisdiction], the nonresident generally must have certain minimum contacts . . . such
  9   that the maintenance of the suit does not offend traditional notions of fair play and
 10   substantial justice.” Walden v. Fiore, 134 S. Ct. 1115, 1121 (2014) (alteration in
 11   original) (internal quotations and citations omitted). Minimum contacts may be
 12   established by showing that the defendant “has continuous and systemic general
 13   business contacts with a forum state,” or if the defendant has “sufficient contacts
 14   arising from or related to specific transactions or activities in the forum.” Morrill,
 15   873 F.3d at 1141-42 (internal quotations omitted).
 16         First, Plaintiffs plainly cannot demonstrate that this Court has general personal
 17   jurisdiction over the Stonington Defendants. The Amended Complaint makes clear
 18   that Stonington is not incorporated under California law and does not have its primary
 19   place of business in California. See FAC ¶ 20. It contains no allegations that
 20   Stonington conducts any business in or otherwise has any ties to California. Id. The
 21   Amended Complaint also makes clear that Dr. Muzin does not reside in California.
 22   See id. ¶ 21. And although Plaintiffs now allege that Dr. Muzin “has frequently
 23   traveled to California for business and political purposes during recent years,” id., the
 24   Amended Complaint contains no allegation that any such travel was related to
 25   Plaintiffs’ claims. Rather, Plaintiffs allege that the Stonington Defendants’ relevant
 26   business activities took place in New York and Washington. See, e.g., id. ¶¶ 11-14,
 27   65, 88, 89. In fact, Dr. Muzin has not traveled to California since June 2016, more
 28   than a year before he founded his business, Stonington Strategies, and began his

                                                 12
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 18 of 30 Page ID #:646




  1   engagement with Qatar.
  2         Plaintiffs also fail to demonstrate that this Court has specific personal
  3   jurisdiction over the Stonington Defendants. The assertion of specific personal
  4   jurisdiction over a nonresident defendant “focuses on the relationship among the
  5   defendant, the forum, and the litigation.” Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
  6   874 F.3d 1064, 1068 (9th Cir. 2017) (quoting Walden, 134 S. Ct. at 1121). That
  7   relationship “must arise out of contacts that the ‘defendant himself’ creates with the
  8   forum State,” and “not the defendant’s contacts with persons who reside there.”
  9   Walden, 134 S. Ct. at 1122 (alteration in original) (citations omitted).            “[A]
 10   defendant’s relationship with a plaintiff or third party, standing alone, is an
 11   insufficient basis for jurisdiction.” Axiom Foods, 874 F.3d at 1068 (quoting Walden,
 12   134 S. Ct. at 1123).
 13         Importantly, pleading participation in an alleged conspiracy is insufficient to
 14   establish the requisite minimum contacts to demonstrate personal jurisdiction.
 15   “California law does not recognize conspiracy as a basis for acquiring jurisdiction
 16   over a foreign defendant.” EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp.,
 17   711 F. Supp. 2d 1074, 1089 (C.D. Cal. 2010) (citations omitted). Accordingly,
 18   “actions taken by co-conspirators in furtherance of the conspiracy cannot be attributed
 19   to a conspirator for purposes of establishing personal jurisdiction.” Id. (citing cases);
 20   see 12 Cal. Jur. 3d Civil Conspiracy § 3 (“Conspiracy is not a basis for acquiring
 21   personal jurisdiction over a party.”); see also Stauffacher v. Bennett, 969 F.2d 455,
 22   460 (7th Cir. 1992) (“The cases are unanimous that a bare allegation of
 23   a conspiracy between the defendant and a person within the personal jurisdiction of
 24   the court is not enough.”), superseded on other grounds by Fed. R. Civ. P. 4(k)(2), as
 25   recognized in Cent. States, Se. & Sw. Areas Pension Fund v. Reimer Express World
 26   Corp., 230 F.3d 934, 941 (7th Cir. 2000).
 27         The only act Plaintiffs claim occurred in California is unauthorized access of
 28   Plaintiffs’ computers and servers. See FAC ¶¶ 7, 15, 93. However, the Amended

                                                 13
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 19 of 30 Page ID #:647




  1   Complaint is devoid of a single allegation that the Stonington Defendants were the
  2   parties who accessed Plaintiffs’ computers or servers.          Indeed, the Amended
  3   Complaint specifically alleges that “the Qatari Defendants retained and used the GRA
  4   Defendants to coordinate and implement the hack.” Id. ¶ 6. “Shotgun” allegations
  5   that “Defendants” or “Agent Defendants” accessed—or assisted in accessing—the
  6   computers are insufficient to plead a claim, and certainly cannot establish personal
  7   jurisdiction. See Destfino v. Kennedy, No. CVF081269LJODLB, 2009 WL 63566, at
  8   *4, *6 (E.D. Cal. Jan. 8, 2009), aff’d sub nom. Destfino v. Reiswig, 630 F.3d 952 (9th
  9   Cir. 2011).
 10         Moreover, to the extent Plaintiffs have adequately pled that the Stonington
 11   Defendants improperly possessed or disseminated Plaintiffs’ information—they have
 12   not—there is nothing in the Amended Complaint alleging that the Stonington
 13   Defendants’ actions occurred in, or were directed at, California. Again, the Amended
 14   Complaint expressly alleges that the unlawful conduct was aimed at and attempting
 15   to influence individuals in New York and Washington. See FAC ¶¶ 11-14, 65, 88,
 16   89. And Plaintiffs’ vague and conclusory allegations of a conspiracy—which fail
 17   even to state a claim for conspiracy—do not establish personal jurisdiction under
 18   black letter California law. EcoDisc Tech., 711 F. Supp. 2d at 1089. Therefore, even
 19   if Plaintiffs’ allegations are accepted as true, they have failed entirely to demonstrate
 20   personal jurisdiction over the Stonington Defendants, and there is a substantial
 21   likelihood that they will be dismissed for this reason alone.
 22                 The Stonington Defendants Are Immune from Suit.
 23         In its April 4, 2018 Order denying Plaintiffs’ application for a TRO, this Court
 24   expressed “serious concerns as to whether it has subject matter jurisdiction over the
 25   case with respect to Qatar,” a foreign sovereign. Dkt. No. 37 at 2. As Qatar explains
 26   in its stay motion, Plaintiffs’ Amended Complaint does nothing to overcome Qatar’s
 27   foreign sovereign immunity from suit. As a result, the Stonington Defendants—who
 28   “develop[ed] and implement[ed] . . . a government relations strategy for the State of

                                                 14
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 20 of 30 Page ID #:648




  1   Qatar, as requested and directed by the Embassy,” Dkt. 31-9, Ex. 19, at 100
  2   (emphasis added)—are also immune from suit under either the doctrine of derivative
  3   sovereign immunity or as diplomatic agents of Qatar.
  4               1.     The Stonington Defendants Are Entitled to Derivative
  5                      Sovereign Immunity.
  6         “The FSIA is the sole basis of subject matter jurisdiction over suits involving
  7   foreign states and their agencies and instrumentalities.” Phaneuf v. Republic of
  8   Indonesia, 106 F.3d 302, 304 (9th Cir. 1997). “Under the FSIA, foreign states are
  9   immune from suit unless one of the enumerated exceptions to the Act applies.” Id.
 10   (citing 28 U.S.C. §§ 1330, 1604-05). Here, as explained in Qatar’s brief, none of
 11   those exceptions apply, and Qatar is immune from suit.
 12         Derivative immunity attaches to the agents of a foreign sovereign acting under
 13   the sovereign’s orders or pursuant to a valid contract. See Butters v. Vance Int’l, Inc.,
 14   225 F.3d 462, 466 (4th Cir. 2000) (“It is but a small step to extend th[e] privilege [of
 15   derivative sovereign immunity] to the private agents of foreign governments.”);
 16   Alicog v. Kingdom of Saudi Arabia, 860 F. Supp. 379, 384 (S.D. Tex. 1994), aff’d, 79
 17   F.3d 1145 (5th Cir. 1996) (citing Yearsley v. W.A. Ross Construction Co., 309 U.S.
 18   18, 20-21 (1940)) (affirming that agents enjoy derivative immunity when following
 19   the commands of a foreign sovereign employer); see also Campbell-Ewald Co. v.
 20   Gomez, 136 S. Ct. 663, 673 (2016) (reaffirming that an agent of the government is
 21   not liable for acts performed pursuant to valid government direction or contract).
 22         This immunity derives from “the government’s unquestioned need to delegate
 23   governmental functions,” and recognizes that “[i]mposing civil liability on private
 24   agents of the government would directly impede the significant governmental interest
 25   in the completion of its work.” Butters, 225 F.3d at 466. Abrogating this immunity
 26   “would discourage American[s] . . . from entering lawful agreements with foreign
 27   governments and from respecting their wishes even as to sovereign acts.” Id. It would
 28   likewise “impede [the Qatari] government’s sovereign interest” in advancing its

                                                 15
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 21 of 30 Page ID #:649




  1   foreign relations objectives in the United States. Id. Indeed, “FSIA immunity
  2   presupposes a tolerance for the sovereign decisions of other countries that may reflect
  3   legal norms and cultural values quite different from our own.” Id. at 467. It does not
  4   require “approv[al] of the diverse cultural or political motivations that may underlie
  5   another sovereign’s acts,” but it does demand respect for them. Id.
  6         Taking as true, for purposes of this motion, the allegations in the Amended
  7   Complaint,5 the Stonington Defendants are entitled to derivative sovereign immunity.
  8   As an initial matter, the Amended Complaint makes clear that the Stonington
  9   Defendants were acting pursuant to a FARA-registered contract with Qatar. FAC ¶¶
 10   20-21.   Pursuant to that contract, the Stonington Defendants were required to
 11   “develop[] and implement[] . . . a government relations strategy for the State of Qatar,
 12   as requested and directed by the Embassy,” Dkt. 31-9, Ex. 19, at 100, and as the
 13   Amended Complaint alleges, that is exactly what they did. See, e.g., FAC ¶¶ 63-65,
 14   69-70, 84, 88, 136.     The allegations raised specifically against the Stonington
 15   Defendants merely describe the assembling of allies to promote Qatar’s political
 16   agenda in the United States and successful lobbying against Plaintiffs and their
 17   sponsors. See id. Moreover, with respect to the alleged hacking and dissemination
 18   of hacked materials, the Amended Complaint expressly alleges that Qatar
 19   “orchestrat[ed] and execut[ed]” the alleged conspiracy through “Agent Defendants.”
 20   See, e.g., id. at 1 n.1, ¶ 1. Putting aside for a moment the Amended Complaint’s
 21   improper shotgun pleading as to “Agent Defendants,” there is not a single allegation
 22   in the Amended Complaint that the Stonington Defendants or any other alleged Qatari
 23

 24

 25   5
       To be clear, the Stonington Defendants are accepting the allegations in the Amended
 26   Complaint as true only for purposes of moving to dismiss the Amended Complaint.
      The Stonington Defendants deny any and all wrongdoing alleged by Plaintiffs. The
 27   point, however, is that even if every allegation in the Amended Complaint were true,
 28   the Stonington Defendants would be entitled to derivative sovereign immunity.

                                                16
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 22 of 30 Page ID #:650




  1   agents independently decided to perpetrate the alleged hacking scheme.6 The entire
  2   theme of Plaintiffs’ case is that Qatar instructed its agents to perpetrate the scheme to
  3   advance its political interests.7 Thus, because Qatar is entitled to immunity with
  4   respect to Plaintiffs’ claims, so are the Stonington Defendants.
  5               2.     The Stonington Defendants Are Entitled to Immunity as
  6                      Diplomatic Agents of Qatar.
  7         The Stonington Defendants are also entitled to the immunities afforded to
  8   Qatar’s diplomatic agents under the Vienna Convention on Diplomatic Relations
  9   (“VCDR”). The VCDR grants diplomatic agents immunity from criminal, civil, or
 10   administrative jurisdiction of the host state, subject to certain narrow exceptions, and
 11   ensures the inviolability of all official diplomatic correspondence. See VCDR, arts.
 12   27 & 31, Apr. 18, 1961, 23 U.S.T. 3227; see also Brzak v. United Nations, 597 F.3d
 13   107, 113 (2d Cir. 2010). Respect for these immunities is enshrined in the Diplomatic
 14   Relations Act, which demands the dismissal of “[a]ny action . . . brought against an
 15   individual who is entitled to immunity . . . under the [VCDR] . . . or under any other
 16   laws extending diplomatic privileges and immunities.” 22 U.S.C. § 254d. The State
 17   Department “has a long-standing policy . . . that all foreign personnel must register
 18   with the State Department to be entitled to diplomatic immunity.” In re Grand Jury
 19   Subpoenas Returnable Dec. 16, 2015, 871 F.3d 141, 145 (2d Cir. 2017), cert. denied,
 20

 21   6
        Plaintiffs’ allegation that “the State of Qatar left to the Agent Defendants . . .
 22   discretion and choice as to the manner in which they would carry out their parts of
      the unlawful conspiracy,” FAC ¶ 139, is not only conclusory and thus insufficient, it
 23   is directly contrary to every other allegation in the Amended Complaint regarding
 24   how the alleged scheme was perpetrated.
 25   7
        It is important again to point out that these are only Plaintiffs’ allegations. And the
 26   fact that Plaintiffs allege a violation of law does not preclude immunity. “The purpose
      of Yearsley immunity is to prevent a government contractor from facing liability for
 27   an alleged violation of law, and thus, it cannot be that an alleged violation of law per
 28   se precludes Yearsley immunity.” Cunningham v. Gen. Dynamics Info. Tech., Inc.,
      888 F.3d 640, 648-49 (4th Cir. 2018).
                                                    17
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 23 of 30 Page ID #:651




  1   No. 17-1381 (2018 Term).
  2         Plaintiffs have alleged that the Stonington Defendants are diplomatic agents of
  3   Qatar. An agent of a foreign principal is one who is “engage[d] within the United
  4   States in political activities for or in the interests of such foreign principal.” Att’y
  5   Gen. of U.S. v. Irish People, Inc., 684 F.2d 928, 937 (D.C. Cir. 1982) (emphasis
  6   added) (citing 22 U.S.C. § 611(c)). Again, Plaintiffs allege that the Stonington
  7   Defendants entered into a contract with Qatar to “develop[] and implement[] [] a
  8   government relations strategy for the State of Qatar, as requested and directed by the
  9   Embassy.” Dkt. 31-9, Ex. 19, at 100 (emphasis added). Plaintiffs further allege that
 10   pursuant to that contract, the Stonington Defendants promoted Qatari foreign policy
 11   objectives. See FAC ¶¶ 63-65, 68-70.
 12         The Stonington Defendants’ FARA registration serves as notice to the State
 13   Department sufficient for diplomatic immunities to attach to the Stonington
 14   Defendants. FARA requires that “anyone acting as an agent of a foreign principal
 15   register with and make certain disclosures to the Attorney General,” and it requires
 16   the Attorney General to promptly transmit a copy of every registration statement,
 17   amendment, or supplement to the Secretary of State. Irish People, Inc., 684 F.2d at
 18   931, 938 (quoting FARA, 22 U.S.C. § 616(b)). Moreover, the State Department takes
 19   FARA registration into account in determining the status of foreign entities. For
 20   example, in Palestine Information Office v. Shultz, 853 F.2d 932 (D.C. Cir. 1988), the
 21   State Department designated the Palestine Information Office as a Foreign Mission
 22   in part because “its FARA registration indicated that it engaged in political activity
 23   and political propaganda on behalf of the PLO” and because “it was involved in ‘other
 24   activities’, namely political activity and political propaganda, on behalf of the PLO.”8
 25   Id. at 935 (internal quotations and citations omitted)
 26
      8
       It bears noting that—like foreign sovereign immunity—diplomatic immunity does
 27   not depend on “whether the underlying conduct actually occurred, or whether it was
 28   wrongful.” Brzak, 597 F.3d at 113. Rather, the issue is whether the acts were
      performed in the exercise of official functions. Id.
                                                18
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 24 of 30 Page ID #:652




  1         At the very least, the documents, information, and communications exchanged
  2   during the Stonington Defendants’ diplomatic work on behalf of Qatar are protected
  3   by the Embassy’s diplomatic immunities. Indeed, the Qatari Embassy Agreement’s
  4   confidentiality clause reinforces the privileged nature of their communications. See
  5   Dkt. 31-9, Ex. 19, p. 100. Plaintiffs are not permitted to access the inviolable
  6   communications of Qatari officials directly. VCDR, 23 U.S.T. 3227 at arts. 27, 30;
  7   see also Ewald v. Royal Norwegian Embassy, No. 11-cv-2116, 2013 WL 6094600, at
  8   *5 (D. Minn. Nov. 20, 2013). They should not be allowed to circumvent bedrock
  9   diplomatic immunities by obtaining discovery of privileged communications through
 10   agents retained by Qatar to promote Qatari diplomatic objectives. For this additional
 11   reason, the Stonington Defendants are entitled to immunity.
 12               Plaintiffs Fail to State a Claim Against the Stonington Defendants.
 13         With respect to the Stonington Defendants, Plaintiffs’ Amended Complaint is
 14   a quintessential “shotgun pleading,” and thus Plaintiffs have failed to state a claim.
 15   See Strategic Income Fund, LLC v. Spear, Leeds & Kellogg Corp., 305 F.3d 1293,
 16   1295 (11th Cir. 2002); see also Destfino v. Reiswig, 630 F.3d 952, 958 (9th Cir. 2011)
 17   (affirming dismissal of shotgun pleading). The Amended Complaint contains several
 18   allegations expressly identifying the Stonington Defendants’ lobbying on behalf of
 19   Qatar and Dr. Muzin’s purported motives for harming Plaintiffs, see, e.g., FAC ¶¶ 63-
 20   65, 69-70, 84, but none of these allegations involve anything improper. And in a not-
 21   so-subtle sleight of hand, the Amended Complaint refers generally to “Agent
 22   Defendants”—a group encompassing the Stonington Defendants as well as the GRA
 23   Defendants, Defendant Ahmed al-Rumaihi, and ten additional “John Doe”
 24   defendants that the Plaintiffs cannot even identify—when describing the alleged
 25   actions that support the elements of Plaintiffs’ claims. See id. at 1 n.1.; see also, e.g.,
 26   id. ¶¶ 92, 93, 126, 128-29, 151, 163, 171, 180. Plaintiffs cannot state a claim against
 27   the Stonington Defendants by lumping them with fourteen other defendants,
 28   including ten unknown defendants. Indeed, several allegations are nonsensical, as

                                                  19
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 25 of 30 Page ID #:653




  1   they refer to the “GRA Defendants” and “Agent Defendants,” even though the “Agent
  2   Defendants” include the “GRA Defendants.” See, e.g., id. ¶¶ 139, 141. This is
  3   precisely the type of generalized pleading that has been prohibited since Ashcroft v.
  4   Iqbal, 556 U.S. 662 (2009).
  5         At bottom, the Amended Complaint does not contain a single allegation that
  6   the Stonington Defendants (a) accessed Plaintiffs’ computers, (b) received stolen
  7   documents or information from Plaintiffs’ computers, or (c) distributed stolen
  8   documents or information from Plaintiffs’ computers.9 To the contrary, the Amended
  9   Complaint alleges that Qatar “retained and used the GRA Defendants to coordinate
 10   and implement the hack.” FAC ¶ 6. The Amended Complaint is devoid of any
 11   allegation that either of the Stonington Defendants, or any of their officers or
 12   employees, were anywhere near Qatar on February 14 and 19, 2018—the dates
 13   Plaintiffs claim that a Qatari-based hacker illegally accessed their data. See id. ¶ 73.
 14   Moreover, the Amended Complaint alleges that “the State of Qatar, acting through
 15   the Agent Defendants, was responsible for disseminating the emails and documents
 16   stolen from Plaintiffs’ California-based email accounts and servers.” Id. ¶ 126.
 17         Regarding the Stonington Defendants specifically, the Amended Complaint
 18   alleges only that “Defendant Muzin’s company (Defendant Stonington) conspired
 19   with other Defendants . . . to organize and disseminate Plaintiffs’ stolen emails to
 20   media organizations.” Id. ¶ 9 (emphasis added). But Plaintiffs offer no relevant facts
 21   to support this conclusory allegation. It is well settled that “‘[b]are allegations’ and
 22   ‘rank’ conjecture do not suffice for civil conspiracy.” Arei II Cases, 157 Cal. Rptr.
 23   3d 368, 382 (Cal. Ct. App. 2013) (quoting Choate v. County of Orange, 103 Cal. Rptr.
 24   2d 339 (2000)). A party seeking to establish a civil conspiracy:
 25        must show that each member of the conspiracy acted in concert and
 26
      9
        As the Stonington Defendants will detail in their forthcoming motion to dismiss,
 27   each count of Plaintiffs’ Amended Complaint fails because they have not pled any
 28   facts tending to show that the Stonington Defendants engaged in any of the listed
      activities.
                                               20
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 26 of 30 Page ID #:654




  1        came to a mutual understanding to accomplish a common and unlawful
  2        plan, and that one or more of them committed an overt act to further it.
  3        It is not enough that the [conspirators] knew of an intended wrongful
  4        act, they must agree—expressly or tacitly—to achieve it.
  5   Id. (citations omitted). Here, other than conclusory, unsupported statements and
  6   assorted shotgun allegations with respect to the ambiguous “Agent Defendants,”
  7   Plaintiffs fail to allege any specific facts about an agreement involving the Stonington
  8   Defendants—express or tacit—to hack Plaintiffs and disseminate stolen information.
  9   See, e.g., Villegas v. Wells Fargo Bank, N.A., No. C 12-02004 LB, 2012 WL 4097747,
 10   at *5 (N.D. Cal. Sept. 17, 2012) (dismissing conspiracy claim based on conclusory
 11   allegations of cooperation and an agency relationship); Hanni v. Am. Airlines, Inc.,
 12   No. C 08-00732 CW, 2008 WL 5000237, at *6 (N.D. Cal. Nov. 21, 2008) (dismissing
 13   civil conspiracy claim for failure to allege “when and how the [defendants] entered
 14   into an agreement”).
 15         Plaintiffs instead rely on an alleged conversation between Dr. Muzin and Joel
 16   Mowbray to demonstrate the Stonington Defendants’ participation in the alleged
 17   conspiracy. FAC ¶¶ 10-12, 135-38. But the allegations added to the Amended
 18   Complaint with respect to the alleged conversation merely repeat the testimony from
 19   the Mowbray Declaration filed with Plaintiffs’ TRO application. Compare Dkt. No.
 20   31-4 with FAC ¶¶ 10-12, 131-38. And Plaintiffs concede that Dr. Muzin denied any
 21   participation in the alleged hack during those conversations. Id. ¶ 122 (alleging Dr.
 22   Muzin stated “I did not cause the Broidy stuff just because I have information”). As
 23   this Court previously found after reviewing that Declaration, “it appears just as likely
 24   that Muzin became aware of the press’s interest in Plaintiffs through his own
 25   conversations with various reporters and members of the press.” Dkt. No. 37 at 3.
 26   Under Iqbal, these allegations fail to state a claim. See 556 U.S. at 678 (“[W]here the
 27   well-pleaded facts do not permit the court to infer more than the mere possibility of
 28   misconduct, the complaint has alleged—but not shown—that the pleader is entitled

                                                21
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 27 of 30 Page ID #:655




  1   to relief.”) (internal quotations and citations omitted). Even taken as true, the alleged
  2   conversation in no way demonstrates—or even suggests—the existence of an
  3   agreement to hack and disseminate stolen information. See Arei II Cases, 157 Cal.
  4   Rptr. 3d at 382.
  5   II.   The Stonington Defendants Will Suffer Irreparable Harm If Discovery Is
  6         Allowed to Proceed.
  7         Not only are the Stonington Defendants likely to be dismissed from this case,
  8   they will suffer irreparable harm if discovery is permitted to continue in the interim.
  9         First, absent a stay, the Stonington Defendants will be subjected to substantial
 10   and costly discovery in a Court on the opposite side of the country that lacks personal
 11   jurisdiction. The document requests served on the Stonington Defendants are broad
 12   and burdensome, see, e.g., Ex. 1, Request No. 15 (seeking “[a]ny and all documents
 13   concerning or constituting non-privileged Communications between You and any
 14   other person regarding the facts underlying the Complaint”), and given the discovery
 15   requests filed with their TRO application, Plaintiffs will likely seek to depose Dr.
 16   Muzin as soon as the discovery stay is lifted. If this discovery proceeds, there will be
 17   no means by which the Stonington Defendants can be compensated for their wasted
 18   efforts in responding if the case is dismissed. See Reyes v. Educ. Credit Mgmt. Corp.,
 19   No. 15-cv-00628, 2017 WL 4640418, at *3 (S.D. Cal. Oct. 17, 2017) (“[C]osts of
 20   pretrial litigation may amount to an irreparable harm when granting [a] stay would
 21   avoid substantial, unrecoverable, and wasteful discovery costs . . . .”). The Stonington
 22   Defendants should not be required to bear irreparable discovery costs in a Court that
 23   likely lacks personal jurisdiction.
 24         Second, allowing discovery will irreparably undermine the Stonington
 25   Defendants’—and Qatar’s—immunity. Under the FSIA, Qatar is immune, not only
 26   from liability, but from suit. Phaneuf, 106 F.3d at 305. Whether the Stonington
 27   Defendants were, as Plaintiffs allege, contractors acting at Qatar’s direction or
 28   diplomatic agents of Qatar, they likewise are immune from suit. See Cunningham,

                                                 22
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 28 of 30 Page ID #:656




  1   888 F.3d at 650 (explaining that the doctrine of derivative sovereign immunity
  2   “operates as a jurisdictional bar to suit and not as a merits defense to liability”); see
  3   also 22 U.S.C. § 254d. Allowing discovery of the Stonington Defendants pending a
  4   determination of their immunity would, in effect, render that immunity meaningless.
  5   Neither the Stonington Defendants—nor Qatar—can be compensated for this affront
  6   to their immunity.
  7         Third, Plaintiffs are plainly taking advantage of the Stonington Defendants’
  8   jurisdictional and immunity claims to abuse the discovery process in a Court that lacks
  9   jurisdiction to bolster their deficient claims. Not only does this amount to an
 10   attempted end-run around the Stonington Defendants’ immunity from suit, it is an
 11   abuse of Federal Rule of Civil Procedure 45. Plaintiffs should not be permitted to
 12   serve a deficient complaint and use third-party discovery to improve it before
 13   defendants are even required to respond. And the Stonington Defendants are unable
 14   to defend against this improper third-party process—let alone serve their own
 15   discovery on Plaintiffs—because they would risk waiving their personal jurisdiction
 16   challenge. See Norfolk S. Ry. Co. v. Power Source Supply Co., No. 3:06-cv-58, 2007
 17   WL 709312, at *2 (W.D. Pa. March 5, 2007) (granting motion to stay when
 18   Defendant refused to participate in discovery due to concerns that doing so would
 19   waive jurisdictional objections); Citizens Cmty. Fed. v. Silver, Freedman & Taff,
 20   L.L.P., No. 12-cv-648-BBC, 2014 WL 345261, at *3 (W.D. Wis. Jan. 30, 2014)
 21   (“Misleading or wasteful conduct may include . . . participation in . . . discovery,
 22   hearings, or scheduling.”); Scope Leasing, Inc. v. Clearwater Aviation, Inc., No. 8:15-
 23   cv-2062-T-17AEP, 2015 WL 5716595, at *2 (M.D. Fla. Sept. 26, 2015) (noting that
 24   a party may waive a Rule 12(h)(1) defense by participating in discovery or other
 25   aspects of litigation). Absent a stay, Plaintiffs will continue to engage in improper
 26   third-party discovery with impunity while the Stonington Defendants’ are sidelined,
 27   thereby irreparably undermining their ability to defend themselves in the case.
 28         Fourth, it is likely that Plaintiffs will attempt to use any information obtained

                                                 23
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 29 of 30 Page ID #:657




  1   in discovery to impose irreparable reputational harm on the Stonington Defendants.
  2   See Troyer v. TMZ Prods., Inc., No. 08-4233, 2008 WL 11340326, at *1 (C.D. Cal.
  3   June 27, 2008) (damage to reputation and threat to livelihood constituted irreparable
  4   harm); see also Rent-A-Center, Inc. v. Canyon Television and Appliance Rental, Inc.,
  5   944 F.2d 597, 603 (9th Cir. 1991) (intangible injuries may constitute irreparable
  6   harm). This case is more about Plaintiffs’ political agenda than obtaining relief from
  7   an alleged hack. It is thus unsurprising that Plaintiffs, their counsel, and their public
  8   relations team have steadily leaked information about the case to the press to smear
  9   Dr. Muzin and deflect attention from their own troubles. See, e.g., Ex. 6. Moreover,
 10   should discovery in this case continue, it will give Plaintiffs access to Dr. Muzin’s
 11   files, strategy, and thoughts—extremely valuable information to which Plaintiffs are
 12   not entitled given the serious jurisdictional and substantive issues in the Amended
 13   Complaint. This concern is particularly grave here, as Dr. Muzin is a registered agent
 14   of Qatar, and his files will necessarily reveal the deliberative process of a foreign
 15   nation. Given the weakness of the Amended Complaint, this Court should not give
 16   Plaintiffs’ a free hand to rummage through Dr. Muzin’s and Qatar’s files in hopes of
 17   gaining a political advantage.
 18   III. Plaintiffs Will Suffer No Harm If the Case Is Stayed.
 19         While the Stonington Defendants will suffer substantial, irreparable harm if the
 20   case is not stayed, Plaintiffs will suffer no harm if the case is stayed. There is no
 21   reason, as the Court recognized when it denied Plaintiffs’ TRO application, to
 22   expedite discovery in this proceeding. And Plaintiffs have never accepted the Court’s
 23   invitation to seek expedited discovery from the Magistrate Judge exactly because they
 24   cannot justify it. Plaintiffs seek to continue their early discovery blitz before motions
 25   to dismiss are decided only to continue their personal and political attacks on the
 26   Stonington Defendants, and because they seek to fish for more evidence to support
 27   their deficient Amended Complaint. But neither of these reasons supports denial of
 28   a stay, particularly given the serious jurisdictional issues raised by the defendants.

                                                 24
Case 2:18-cv-02421-JFW-E Document 57-1 Filed 06/04/18 Page 30 of 30 Page ID #:658




  1   IV. A Stay Is Supported by the Public Interest.
  2         As described supra, this case raises serious issues with respect to Qatar’s
  3   sovereign immunity, and by extension, the Stonington Defendants’ immunity.
  4   Recognition of foreign sovereign immunity “address[es] ‘the potential sensitivity of
  5   actions against foreign states.’” Cargill Int’l S.A. v. M/T Pavel Dybenko, 991 F.2d
  6   1012, 1016 (2d Cir. 1993) (quoting the legislative history of the FSIA). Indeed, “[o]ne
  7   of the main concerns of the immunity framework adopted by the FSIA is to
  8   accommodate ‘the interests of foreign states in avoiding the embarrassment of
  9   defending the propriety of political acts before a foreign court.’” Butters, 225 F.3d at
 10   462. And the VCDR likewise recognizes the substantial importance of protecting
 11   foreign states engaging in diplomatic work from judicial process. VCDR, 23 U.S.T.
 12   3227, pmbl. (explaining that recognition of diplomatic privileges and immunities
 13   “contribute[s] to the development of friendly relations among nations,” and “ensure[s]
 14   the efficient performance of the functions of diplomatic missions as representing
 15   states”). Therefore, in light of these important public and international interests, a
 16   stay of discovery is appropriate to allow the Court to evaluate and rule upon the
 17   defendants’ immunity before they are subjected to probing discovery.
 18                                      CONCLUSION
 19         For the reasons stated herein, the Stonington Defendants respectfully request
 20   that this Court stay the case, or in the alternative, stay discovery, pending a decision
 21   on the Stonington Defendants’ forthcoming motion to dismiss.
 22   Dated: June 4, 2018                             Respectfully submitted,
 23                                                   WILEY REIN LLP
 24                                                   LECLAIRRYAN LLP
 25
                                                   By: /s/ Matthew J. Gardner
 26                                                    Matthew J. Gardner
 27                                                    Attorney for Defendants Stonington
                                                       Strategies LLC and Nicolas D.
 28                                                    Muzin

                                                 25
